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JAMES I. BURLISON, RODNEY L.
WAITS, and BUFORD O'NEAL
TANKERSLEY,

P].a:i.ntiff:.=,,r
v. No. 04-2597 Ml/P

UNITED STATES OF AMERICA,

vvvvvvvv\-¢v§-r

Defendant.

 

ORDER DENYING WITHOUT PREJUDICE PLAINTIFFS' MOTION FOR SUMMARY
JUDGMENT

 

Before the Court is Plaintiffs' Motion for Summary Judgment,
filed November 26, 2004. Defendant filed an opposition on
January 27, 2005. Plaintiffs filed a reply on March 29, 2005.
For the following reasons, Plaintiffs' motion is DENIED.

Plaintiff brings this action pursuant to 28 U.S.C. § 2409 to
quiet title to an asserted easement over part of the Lower
Hatchie National Wildlife Refuge located in Lauderdale County,
Tennessee, to and from property held by Plaintiffs.l Plaintiffs

move for summary judgment with respect to their claim of the

 

1 Section 2409 provides that “[t]he United States may be
named as a party defendant in a civil action under this section
to adjudicate a disputed title to real property in which the
United States claims an interest, other than a security interest
or water rights.” 28 U.S.C. § 2409.

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existence of a permanent easement of ingress over the Lower
Hatchie National Wildlife Refuge.

Plaintiffs filed their motion prior to the Court's issuance
of an initial scheduling order, which set the deadline for the
filing of dispositive motions as July 16, 2005. (See Scheduling
Order, December 16, 2004 (Docket No. 22).) At that time, no
discovery had been conducted regarding Plaintiffs’ claim.
Plaintiffs' motion was therefore premature. Accordingly,
Plaintiffs’ motion is DENIED, without prejudice. Plaintiffs may
renew their motion,r accompanied by any additional relevant
materials, by filing a notice of renewal prior to the July 16,

2005, dispositive motion deadline.

so oRDERED this §§th day of June, 2005.

v\».?l“n` @&Qr

JON P. MCCALLA
U TED STATES DISTRICT JUDGE

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 41 in
case 2:04-CV-02597 Was distributed by faX, mail, or direct printing on
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ESSEE

 

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Honorable J on McCalla
US DISTRICT COURT

